Case 3:24-cv-00022-HES-MCR     Document 36    Filed 07/23/24   Page 1 of 2 PageID 289




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


  CHAZZ CHAMBERS,

        Plaintiff,

  V.                                      CASE NO. 3:24-cv-22-HES-MCR

  EQUIFAX INFORMATION
  SERVICES,LLC, GREATER FINANCIAL
  RESOURCES,LLC, and VAL-U CAR
  OF GAINESVILLE,INC,

        Defendants.



                                    ORDER


        This matter is before this Court on a "Stipulation for Dismissal of

  Defendant Equifax Information Services, LLC with Prejudice"(Dkt. 35).

        Accordingly, it is ORDERED:

        1. Based on Federal Rule of Civil Procedure 41(a)(l)(A)(ii), the

 "Stipulation for Dismissal of Defendant Equifax Information Services, LLC

  with Prejudice" (Dkt. 35) is GRANTED, and this action is dismissed with

  prejudice as to Defendant Equifax Information Services, LLC, with each

  party to bear their own attorneys' fees and costs; and

        2. Now that all defendants have been dismissed from this action, the

  Clerk will terminate all pending motions and close this file.
Case 3:24-cv-00022-HES-MCR       Document 36   Filed 07/23/24   Page 2 of 2 PageID 290




       DONE AND ORDERED at Jacksonville, Florida, this ^3iJ) day of
  July 2024.


                                               VEYE                GER
                                           ITEDS            DISTRICT JUDGE



  Copies to:
  Christian Earl Cok, Esq.
  Jason Daniel Joffe, Esq.
  Jeffrey Ross Dollinger, Esq.
